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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                 SOUTHERN DIVISION



UNITED STATES OF AMERICA

VERSUS                                           CRIMINAL ACTION NO. 1:05cr88WJG-JMR-1

HUNG VAN LE


                                            ORDER


       This cause comes before the Court on defendant Hung Van Le’s motion for

reconsideration [161-1] of his sentence which the Court shall construe as a motion to modify,

pursuant to Rule 35 of the Federal Rules of Criminal Procedure.

       The Defendant pleaded guilty to possession with intent to distribute 500 dosage units of

MDMA in violation of 21 U.S.C. § 841(a)(1); and criminal forfeiture pursuant to 21 U.S.C. §

853. (Ct. R., Doc. 160.) He was sentenced in this proceeding on June 27, 2006, to 168 months

imprisonment, with a term of 3 years supervised release, no fine or restitution, and ordered to pay

mandatory $100.00 special assessment. (Id.)

       Le filed his motion for reconsideration on July 3, 2006, seeking reconsideration of the

finding that he played a managerial role in the offense. (Ct. R., Doc. 161, p. 1.) Le asserts that

his sentence was enhanced because he directed the confidential source or informant [CS] to pay

Anh Le for MDMA on two occasions. (Id.)

       The United States argues that the evidence showed that Le directed individuals to pay his

sister, Hang Le, and his brother, Anh Le, for drugs. (Ct. R., Doc. 174, p. 1.) In addition, the

United States contends that those individuals were directed by Le to hold and distribute drugs for
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him, which would support the Court’s finding that Le was a manager or leader. (Id.)

       Under Federal Rule of Criminal Procedure 35(a), the district court, acting within seven

days after sentencing, may correct a sentence resulting from arithmetical, technical, or other clear

error. FED. R. CRIM. P. 35(a). After the expiration of the seven-day limit to correct a sentence, a

district court lacks jurisdiction to alter a defendant’s sentence. (Id., p. 3.) The seven-day time

period begins to run on the date of imposition of sentence which means the date of oral

pronouncement, which in this case was September 9, 2002. United States v. Gonzalez, 163 F.3d

255, 263 (5th Cir. 1999). When the seven-day period expires, the court loses jurisdiction to

correct a sentence under that subdivision of the rule. United States v. Gonzales, 163 F.3d 255,

263-4 (5th Cir. 1998). A timely motion by the defendant does not extend this period. United

States v. Shank, 395 F.3d 466, 469 (4th Cir. 2005). Le was sentenced in this matter on June 27,

2006. (Ct. R., Doc. 160.) Although Le’s motion was filed within the seven-day window of the

rule, the Court failed to rule on merits of the motion within that time period and now lacks

jurisdiction to consider the motion. The Court finds that Le’s motion for reconsideration should

be denied.

       Even if the motion had been timely considered, the Court finds no error in its sentencing

of Le. When the evidence demonstrates that a defendant directed another in his drug trafficking

activities, as Le directed the CS in this case, sentence enhancement under section 3B1.1(c) of the

United States Sentencing Guidelines is appropriate. United States v. Turner, 319 F.3d 716, 725

(5th Cir. 2003).

       The Court finds that because it lacks jurisdiction to correct the sentence, Le’s motion to

correct sentence brought pursuant to Rule 35 of the Federal Rules of Criminal Procedure should

be denied. It is therefore,
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       ORDERED that Defendant’s motion for correction of sentence under Rule 35 [161-1] be,

and is hereby, denied.

       SO ORDERED this the 29th day of January, 2007.




                                           UNITED STATES SENIOR DISTRICT JUDGE
